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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL




 Case No.         CR 18-00012-RGK                                                              Date     September 24, 2018


 Present: The Honorable        R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 Interpreter       N/A

          Sharon L. Williams                         Sandra MacNeil                                   Ruth Pinkel
                Deputy Clerk                 Court Reporter/Recorder, Tape No.                  Assistant U.S. Attorney



                U.S.A. v. Defendant(s):            Present Cust. Bond            Attorneys for Defendants:     Present App. Ret.

RALPH TILLMAN                                        X             X      David Elden                               X           X



 Proceedings:       SENTENCING

       Court and counsel confer. Counsel present argument. Defendant addresses the Court. The Court places
findings on the record and proceeds with sentencing.

       It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than
$25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

        Defendant shall pay restitution in the total amount of $62,005 to victims set forth in a separate victim
list prepared by the probation office which this Court adopts and which reflects the Court’s determination of the
amount of restitution due to each victim. The victim list, which shall be forwarded to the fiscal section of the
clerk’s office, shall remain confidential to protect the privacy interests of the victims.

       Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter,
and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution
remains unpaid after release from custody, nominal monthly payments of at least $25 shall be made during the
period of supervised release. These payments shall begin 30 days after the commencement of supervision.
Nominal restitution payments are ordered as the Court finds that the defendant's economic circumstances do not
allow for either immediate or future payment of the amount ordered.

       Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the
defendant does not have the ability to pay interest. Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).

         The defendant shall comply with General Order No. 01-05.




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        Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Ralph
Daniel Tillman, is hereby committed on Counts 1 and 2 of the 2-Count Indictment to the custody of the Bureau
of Prisons for a term of FIVE (5) MONTHS. This term consists of 5 months on each of Counts 1 and 2, to be
served concurrently.

       Upon release from imprisonment, the defendant shall be placed on supervised release for a term of ONE
(1) YEAR. This term consists of one year on Count 1 and one year on Count 2, all such terms to run
concurrently under the following terms and conditions:

1.       The defendant shall participate for a period of five (5) months in a home detention program and shall
         observe all rules of such program, as directed by the Probation Officer.

2.       The defendant shall comply with the rules and regulations of the United States Probation Office,
         General Order 05-02, with the exception of Conditions No. 5, 6 and 14; and General Order 01-05,
         including the three special conditions delineated in General Order 01-05.

3.       As directed by the probation officer, the defendant shall notify specific persons and organizations of
         specific risks and shall permit the probation officer to confirm the defendant's compliance with such
         requirement and to make such notifications.

4.       The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit
         to one drug test within 15 days of release from custody and at least two periodic drug tests thereafter,
         not to exceed eight tests per month, as directed by the Probation Officer.

5.       During the period of community supervision, the defendant shall pay the special assessment and
         restitution in accordance with this judgment's orders pertaining to such payment.

6.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

7.       The defendant shall truthfully and timely file and pay taxes owed for the years of conviction, and shall
         truthfully and timely file and pay taxes during the period of community supervision. Further, the
         defendant shall show proof to the Probation Officer of compliance with this order.

        The Court recommends that the defendant be permitted to bring his medication, in the prescription
bottles to the Metropolitan Detention Center.

         The Court recommends that the defendant be designated to a Bureau of Prisons medical facility.




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         Defendant is advised of his right to appeal.

       Remand order D 9380 issued. After the conclusion of the hearing, defendant’s bond is ordered
exonerated.

         IT IS SO ORDERED.
                                                                                               :   17

                                                              Initials of Deputy Clerk   slw




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